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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


TRAVELERS INDEMNITY COMPANY,           :
                                       :
         Plaintiff,                    :
                                       :
         v.                            :     CASE NO. 3:12CV1793(RNC)
                                       :
EXCALIBUR REINSURANCE                  :
CORPORATION,                           :
                                       :
         Defendant.                    :


                              RULING AND ORDER

     Plaintiff Travelers Indemnity Company brought this

diversity action in December 2012 alleging that defendant

Excalibur Reinsurance Corporation failed to pay amounts owing

under a treaty of reinsurance.        Pending before the court are

plaintiff's Motion for Pre-Pleading Security (doc. #9), Motion

to Strike Answer to Complaint (doc. #34) and Motion to Strike

Answer to Amended Complaint and Counterclaim (doc. #61).1                The

court heard argument and evidence in March 2013.           (Docs. #47,

#48.)     For the reasons that follow, the Motion for Pre-Pleading

Security is granted.




     1
      District Judge Robert N. Chatigny referred the motions to
the undersigned for a ruling. (Docs. #30, #38, #63.) The
motion for pre-pleading security is non-dispositive for the
purposes of Fed. R. Civ. P. 72. See Arrowood Surplus Lines Ins.
Co. v. Gettysburg Nat. Indem. Co., No. 3:09CV972(JCH), 2010 WL
1882314, at *1 (D. Conn. May 10, 2010).

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       A.    Section 38a-27(a) Governs

       Plaintiff seeks an order pursuant to Conn. Gen. Stat. §

38a-27(a) prohibiting defendant from filing a responsive

pleading unless it posts security.           Section 38a-27(a) provides:

       Before any unauthorized person or insurer2 files or
       causes to be filed any pleading in any court action or
       proceeding . . . instituted against the person or
       insurer . . . the person or insurer shall either: (1)
       Deposit with the clerk of the court in which the
       action or proceeding is pending . . . cash or
       securities or a bond with good and sufficient sureties
       to be approved by the court . . . sufficient to secure
       the payment of any final judgment which may be
       rendered in the action or proceeding . . . ; or (2)
       procure proper authorization to do an insurance
       business in this state.

Defendant argues that § 38a-27(a) does not govern under the

circumstances.        It maintains that pre-pleading security is an

issue of substantive law and that the parties selected New York

law in their contractual choice of law provision (doc. #24-3 at

25).       As a consequence, defendant argues that the court should

apply New York's pre-pleading statute in lieu of Connecticut's.3

       There is another case pending in this district involving

       2
      "'Unauthorized insurer' or 'nonadmitted insurer' means an
insurer that has not been granted a certificate of authority by
the commissioner to transact the business of insurance in this
state or an insurer transacting business not authorized by a
valid certificate." Conn. Gen. Stat. § 38a-1(11)(E).
       3
      Although New York's pre-pleading security statute is nearly
identical to Connecticut's, see Hartford Acc. and Indem. Co. v.
Ace Amer. Reins. Co., 103 Conn. App. 319, 337 (2007), defendant
prefers the New York statute because it is ostensibly exempt
from posting security under the New York statute.



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the same reinsurance contracts and parties.           See Travelers

Indem. Co. v. Excalibur Reins. Corp., No. 3:11CV1209(CSH) (D.

Conn. filed 8/1/2011).       Plaintiff filed this same motion for

pre-pleading security in that case.         In a recent ruling on that

motion, the Honorable Charles S. Haight held that § 38a-27(a) is

a procedural remedy that applies in federal court pursuant to

Rule 64(a) of the Federal Rules of Civil Procedure.            See Ruling

on Motion for Pre-Pleading Security, Travelers Indem. Co. v.

Excalibur Reins. Corp., No. 3:11CV1209(CSH) (D. Conn. Mar. 11,

2014), doc. #133.      In light of Judge Haight's ruling, this court

rules that § 38a-27(a) governs.

     Defendant next argues that it is exempt from the

requirements of § 38a-27(a) because it did not issue the

underlying reinsurance contract in Connecticut or deliver it to

a Connecticut resident.4       If the underlying contract were for

primary insurance, defendant would be correct: a related statute

provides that insurance transactions § 38a-27 does not apply to

insurance transactions "involving a policy lawfully solicited,

written and delivered outside of this state covering only


     4
      The underlying reinsurance contract was brokered and
negotiated in New York. Plaintiff's predecessor in interest,
Gulf Insurance Company ("Gulf"), was headquartered in New York
during the negotiation and effective period of the contract
(April 1, 1999 to April 1, 2001). (See Brandt Aff., doc. #24-1
¶ 4.) A connection to Connecticut arose in 2005 when plaintiff,
a Connecticut corporation, merged with Gulf. (Doc. #24-4 at 5.)



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subjects of insurance not resident, located or expressly to be

performed in this state at the time of issuance."              See Conn.

Gen. Stat. § 38a-271(c)(2).          However, that statute also provides

that its exceptions do not apply to transactions of reinsurance.

See Conn. Gen. Stat. § 38a-271(b)(2); Hartford Acc. and Indem.

Co., 103 Conn. App. at 332-33 (§ 38a–271(c) exemption did not

apply to reinsurance contracts).            Because the underlying

transaction in this case was for reinsurance, defendant is not

exempt under this theory.5

       Finally, defendant contends that it is exempt from posting

security because it has been ordered by the Pennsylvania

Insurance Commissioner not to "establish security deposits with

any other jurisdiction without the Commissioner's prior written

approval except to the extent required by law."             (Doc. #24-8 ¶

12.)       As Judge Haight observed in the parties' other pending

case, the Commissioner lacks the authority to preempt the

Connecticut statute and, "[b]y its plain terms, the order

permits Excalibur to make such security deposits 'to the extent

required by law' in other jurisdictions."            Ruling on Motion for


       5
      Addressing this theory in his related ruling, Judge Haight
wrote: "[N]either the language of the statute nor the cases
construing it suggest that the insurance contract in suit must
have been 'issued and delivered' in Connecticut in order to
subject an unauthorized insurer to the requirements of the
Security Statute." See Ruling on Motion for Pre-Pleading
Security, Travelers Indem. Co. v. Excalibur Reins. Corp., No.
3:11CV1209(CSH) (D. Conn. Mar. 11, 2014), doc. #133 at 5-6.

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Pre-Pleading Security, Travelers Indem. Co. v. Excalibur Reins.

Corp., No. 3:11CV1209(CSH) (D. Conn. Mar. 11, 2014), doc. #133

at 18-19.     The Commissioner's order does not shield the

defendant.

    B.     Applying § 38a-27(a)

    Having determined that § 38a–27(a) governs, the court must

decide whether plaintiff is entitled to pre-pleading security.

Pre-pleading security is a prejudgment attachment.            British

Int'l Ins. Co. v. Seguros La Republica, S.A., 212 F.3d 138, 142

(2d Cir. 2000) (interpreting New York's equivalent statute).               To

satisfy due process, the defendant must have an opportunity to

be heard, and it is plaintiff's burden to show that the

defendant owes a sum of money under set of contracts.            Id. at

143-44.     This burden is "uncomplicated" and lends itself to

"documentary proof."       Id. at 144 n.3 (quoting Connecticut v.

Doehr, 501 U.S. 1 (1991)).        Relying on the Second Circuit's

guidance, the Connecticut Appellate Court held that due process

entitles the defendant to a hearing on the amount pre-pleading

security at which both parties may present evidence.            Hartford

Acc. and Indem. Co., 103 Conn. App. 319, 333-37 (Conn. App.

2007).    See, e.g., Arrowood Surplus Line Ins. Co. v. Gettysburg

Nat. Indem. (SAC) Ltd., No. 3:09CV972 (JCH) (HBF), 2010 WL

1416747 (D. Conn. Apr 06, 2010) (court held hearing at which

parties submitted affidavits in lieu of testimony).            The


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Superior Court elaborated that the plaintiff must show that the

defendant is an unauthorized insurer and must "submi[t] some

proof that contracts existed, billings were made under the

auspices of those contracts, and the bills remain unpaid."

Hartford Acc. and Indem. Co., Nos. X02CV030178122S,

X02CV030179514S, 2008 WL 4635451, at *3 (Conn. Super. Sept. 19,

2008).    The scope of the hearing does not extend to the merits

of the case or its likely outcome.         Id. at *2-3.

    Here, each party submitted an affidavit of one of its

officers with supporting exhibits.         (Robles Aff., doc. 11;

Brandt Aff., doc. #24-1.)        The exhibits included the reinsurance

contract (doc. #24-3) and billing (doc. #24-5) at issue.             At an

evidentiary hearing on March 14, 2013, plaintiff adduced

testimony from its second vice president of ceded reinsurance

claims, and defendant cross-examined her.          Defendant declined to

call a witness.      Based on the affidavits, exhibits and

testimony, plaintiff has demonstrated that defendant is an

unauthorized insurer in Connecticut, that a reinsurance contract

existed, that a billing for $824,591.79 was made under the

auspices of that contract, and that the bill remains unpaid.

The court finds that security in the amount of $824,591.79 is

"sufficient to secure the payment of any final judgment which

may be rendered in the action or proceeding."           Conn. Gen. Stat.

§ 38a–27(a).


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     C.   Conclusion

     For the foregoing reasons, plaintiff's Motion for Pre-

Pleading Security (doc. #9) is GRANTED in the amount of

$824,591.79.    The Motions to Strike (docs. #34, #61) are DENIED

WITHOUT PREJUDICE.     Defendant shall post security for the full

amount pursuant to Conn. Gen. Stat. § 38a–27(a) by March 27,

2014.   If defendant fails to do so, plaintiff may renew its

motions to strike.

     SO ORDERED at Hartford, Connecticut this 17th day of March,

2014.

                                   __________/s/_________________
                                   Donna F. Martinez
                                   United States Magistrate Judge




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